            Case 1:17-mj-00106-IDD Document 10 Filed 11/02/17 Page 1 of•p
                                                                        3 PageID#L25
                                                                                                                         -,n
I'rob 12(10/09)
VAlUrev. 5/17)
                                                                                                      NOV       2 2011
                                 UNITED STATES DISTRICT COURT
                                                                                               CLERK, U.S.DlSIHlCr COURT
                                                     for the                                      Al FXANDRIA. VIRGINIA
                                  EASTERN DISTRICT OF VIRGINIA

U.S.A. VS. Robin Felt                                             Docket No. I:17-mi-l06


                                              Petition on Probation


        COMES NOW FRANK WEAVER. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and altitude of Robin Felt, who was placed on supervision by the Honorable Ivan D.
Davis. United States Magistrate Judge, sitting in the Court at Alexandria. Virginia, on the 16th day of May.
2017. who fixed the period of supervision at one year, and imposed the general terms and conditions heretofore
adopted by the Court and also imposed special conditions and terms as follows:


                                                     See Page 2


RESPECTFULLY             PRESENTING       PETITION       FOR      ACTION          OF    COURT      FOR       CAUSE       AS
FOLLOWS:
                                                  See AlUchmcnl(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.

RETURNABLE DATE; NJc>ue>t> ber ^                          II &            (O'OO A-"TO-
ORDER OF COURT                                               I declare under the penalty of perjury that the
                                                             foregoing is true and correct.
Considered and ordered this <P»ic/ day of iVou.,
                                                             r-       .    j                        DigitallySigned by
20 11         and ordered filed and made a part of the       Executed on:          •                Frankllnweaver
records in the above case.                                                                 ^        Date: 2017.11.01
                                                                                                    12:58:19-04 00'


                                                                                       Frank Weaver
                                                                               United States Probation Officer
                           /s/                                                         703-299-2336
                     Ivan D. Davis                           Place: Alexandria, Virginia
             United Stales Magistrate Judge




TO CLERK'S OFFICE
          Case 1:17-mj-00106-IDD Document 10 Filed 11/02/17 Page 2 of 3 PageID# 26


Petition on Probation
Page 2
RE: Felt, Robin

SPECIAL CONDITIONS:


   1. Tile defendant shall participate in and successfully complete an Alcohol Safety Action Program or other
      alcohol treatment program as deemed appropriate by the probation office.

   2. Commencing May 16,2017, and continuing for one year, the defendant may not operate a motor vehicle
      anywhere in the United States except (a) to and from work, as incident to or required by work, (b) to and
      from court, the probation office, and the Alcohol Safety Action Program, (c) to and from church with a
      schedule provided to and approved in advance by the probation office, and (d) to and from medical
      appointments with a schedule provided to and approved in advance by the probation office.

   3. The defendant is permitted to travel to and from Delaware in June with a schedule provided to and
         approved in advance by the probation office.




                                                                                                    Prob 12(10/09)
                                                                                                    VAI: (rev 5/17)
         Case 1:17-mj-00106-IDD Document 10 Filed 11/02/17 Page 3 of 3 PageID# 27


Petition on Probation
Page 3
RE: Felt, Robin

OFFENSE: Reckless Driving, in violation of Title IS. U.S.C. §13 assimilating Virginia Code Section 46.2-852.
SENTENCE- On May 16. 2017, the defendant was sentenced to a one year period
under the aforementioned special conditions. The defendant was further ordered to pay a$250.00 fine and a
$25.00 special assessment.

AnniSTMRNT TO SUPERVISION: Since the inception of supervision, Ms. Felt has been supervised mthe
District of Columbia due to her residence in that jurisdiction. Curremly, supervision is        coordinated y
United States Probation Officer (USPO) Carmen Perez. In correspondence dated October 26, 2017 U^O
Perez advised Ms. Felt has maintained astable residence and is currently employed by the United States Amy.
Officer Perez further advised the defendant has satisfied all her special conditions of probation and completed
alcohol treatmern at Prime for Life (Army Substance Abuse Program) on March 17, 2017.
VIOLATIONS: The following violations are submitted for the Court's consideration.
 MANDATORY CONDITION:                COMMISSION OF ACRIME - SHOPLIFTING.
 CONDITION 3:                        FAILURE TO ANSWER TRUTHFULLY ALL INQUIRIES BY THE
                                     PROBATION OFFICER.


 On Seotember 9 2017. Robin Felt was charged with the above referenced criminal conduct by the Military
 Police of Fort Belvoir. On September 19, 2017, USPO Perez questioned the defendant about the new criminal
 conduct at which time Ms. Felt reported the incident was a misunderstanding and no follow up was conducted
 by law enforcement. On October 10. 2017. USPO Perez contacted Assistam United States Attorney tor the
 Eastern District of Virginia (AUSA) Christopher Kim who advised Ms. Felt's version of the event was
 inaccurate. On October 12, 2017. USPO Perez received an email from AUSA Kim which contained detailed
 information of Ms. Felt's shoplifting charge, to include statements from Ms. Felt acknowledging she had taken
 the items without paying for them. The email also included documentation of Ms. Felt's arrest and processing
 for the aforementioned charge. Collateral contact made by USPO Perez with the United States Attorney s
 Office confirmed this charge remains pending and may not be brought to court as the defendant will most likely
 be sanctioned through the militaryjudicial system.


  FJW/smk
